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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 UNITED STATES OF AMERICA

                      Plaintiff,

 v.                                               CIVIL NO.11-20551-39-DT


 ERIC HESTER,

                 Defendant(s).
 __________________________________/


               ORDER GRANTING ATTORNEY ANTONIO TUDDLES
              MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT

        This matter has come before the court on the Motion to Withdraw [ Dkt #875]

 filed on October 22, 2014 by attorney Antonio Tuddles.

        A hearing was held on November 5, 2014 and after hearing argument from

 counsel and the defendant and reviewing the affidavit submitted by the defendant, the

 court has determined that there is sufficient reason for Mr. Tuddles to be permitted to

 withdraw as counsel for the defendant. Therefore,

        IT IS ORDERED for the reasons stated on the record the motion to withdraw is

 GRANTED. The Federal Defender’s Office is directed to appoint new counsel. Upon

 the filing of an appearance by the new attorney, this court will schedule a status

 conference with counsel.

                                            S/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE


 Dated: November 10, 2014
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 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, November 10, 2014, by electronic and/or ordinary mail.


                                          S/Lisa Wagner
                                         Case Manager and Deputy Clerk
                                         (313) 234-5522
